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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF IOWA
                                 EASTERN DIVISION

                                             )
BUSINESS LEADERS IN CHRIST, an,              )             CASE NO. 3:17-CV-00080
unincorporated association,                  )
                                             )
            Plaintiff,                       )
                                             )
vs.                                          )
                                             )
THE UNIVERSITY OF IOWA; LYN                  )      DEFENDANTS’, LYN REDINGTON,
REDINGTON, in her official capacity as       )         THOMAS R. BAKER, AND
Dean of Students and in her individual       )          WILLIAM R. NELSON,
capacity; THOMAS R. BAKER, in his            )      RESISTANCE TO OVER-LENGTH
official capacity as Assistant Dean of       )             REPLY BRIEF
Students and in his individual capacity; and )
WILLIAM R. NELSON, in his official           )
capacity as Executive Director, Iowa         )
Memorial Union, and in his individual        )
capacity,                                    )
                                             )
            Defendants.                      )
                                             )


       COME NOW the individual Defendants, Lyn Redington, Thomas R. Baker, and William

R. Nelson, and resists Plaintiff’s Motion for Over Length Reply Brief and states:

       1.      Plaintiff’s indicate that they reached out to Defendants’ counsel, although late in

the day. Plaintiff sent the email to Defendant’s counsel at 8:23 p.m. on Monday, November 12,

2018 – Veterans’ Day – a day that should be remembered by everyone.

       2.      Plaintiff’s Reply Brief is 7 pages over the length without good cause shown.




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       WHEREFORE, Defendants request the Court to deny Plaintiff’s Motion for Over-

Length Reply Brief.

                                                            THOMAS J. MILLER
                                                            Attorney General of Iowa

                                                            /s/GEORGE A. CARROLL
                                                            George A. Carroll
                                                            Assistant Attorney General
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                                                            1305 East Walnut Street
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                                                            ATTORNEYS FOR DEFENDANTS
Original filed electronically.

Copy electronically served on all parties of record.

                                                                          PROOF OF SERVICE
                                                   The undersigned certifies that the foregoing instrument was served upon
                                                 each of the persons identified as receiving a copy by delivery in the
                                                 following manner on November 13, 2018:

                                                          U.S. Mail                        FAX
                                                          Hand Delivery                   Overnight Courier
                                                          Federal Express                  Other
                                                          ECF System Participant (Electronic Service)

                                                 Signature: /s/Betty Christensen




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